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                                                                                 PLAINTIFF


    v.                                           CAUSE NO.    A2tlo 1..202\ -Ct::J2
                     '3Y:~~---lI---f-..a..---_   .c.
                                                                               DEFENDANT


                                COMPLAINT FOR DAMAGES

            COMES NOW the Plaintiff, NANCY SLEGER, by and through undersigned

    counsel, and files this, her COMPLAINT FOR DAMAGES against the Defendant,

    AMERICAN FACTORY DIRECT, LLC, and for cause of action would show unto this

    Honorable Court as follows:

                                            PARTIES

            1.     Plain~NANCY         SLEGER, is an adult resident citizen of Harrison

    County, Mississippi, of the full age of majority.

            2.     Defendant, AMERICAN FACTORY DIRECT, LLC, is a Mississippi

_ _limited liability company organized according to the Mississippi Limited Liability

    GompanyAct, Miss. CodeAnn.§§ 79-29-101, et seq., that may be served by delivering a

    Summons and a copy of the Complaint to its registered agent, C T Corporation System at

   -645 Lakeland East Drive, Suite 101, Flowood, MS 39232.

                                  JURSIDICTION AND VENUE

            3.     Jurisdiction and venue are proper in this Honorable Court as all tortious

    acts and/or omissions alleged herein occurred within the jurisdictional limits of Harrison

    County, Mississippi,




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                                             FACTS

          4.       On or about January 6, 2018, Nancy SIeger visited Defendant's furniture

  showroom, namely American Factory Direct Furniture Outlets in Long Beach,

  Mississippi, where she had previously purchased furniture and where she intended to do

  more business on that day.

          5.       OnJanuary 6, 2018, as Plaintiff was browsing and shopping in

  Defendant's shoWroom, one of Defendant's sales associates led Nancy SIeger through

  different floor displays.

          6.       Among the floor displays was an area rug laying on the ground in

  Defendant's showroom, and the sales associate assisting Nancy SIeger led her through

  the displays and past the aforementioned area rug.

          7.       The area rug referenced herein was not roped off, nor were there any

.waming:signsto indicate a potential tripping hazard; furthermore, there was no signage to

  indicate thatthe-arearug obscured any other objects or potential tripping hazards.

          8.       As the sales associate led Plaintiff past the area rug, she caught her foot on

 _the.displayrugthatwas obscuring a stack of rugs hidden underneath, causing Plaintiff to

  slip and fall.

          9.       Plaintiff suffered serious and permanent injuries in the complained slip

  and fall; inchidirig but not limited to a broken right shoulder and two broken ribs.

  Plaintiff further suffered complications causally related to the complained injuries that

  resulted in herbeing hospitalized between Memorial Hospital Gulfport, Mississippi, and

  Ochsner Hospital in New Orleans, Louisiana, for more than three (3) months.




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                                         NEGLIGENCE

        10.       Plaintiff incorporates herein by reference the allegations of Paragraphs 1

through 9, as if more fully set forth here in words and figures.

        11.       Defendant, AMERICAN FACTORY DIRECT, LLC, owed Plaintiff,

NANCYSLEGER,a duty of care to provide a reasonably safe property, and further owed

Plaintiff a duty of care to warn of hidden danger or perils on their premises. Defendant

breached the duty of care owed to Plaintiff, and such breach was the proximate cause of

the injuries and damages sustained by the Plaintiff in the aforementioned slip and fall

accident. Defendant's negligence includes, but is not limited to, the following

particulars:

     _ a.. ~      Failing to properly maintain the property in a safe condition, including but

                ... notlirriited to creating and/or failing to remedy dangerous conditions on

               ...:.._the property, more particularly, the area rug display causing injury;

     "b:- . ·--Failing to-properly supervise the premises in order to provide Plaintiff and

                  others a safe and secure premises, free from dangerous defects that were

                  known,.or should have been known by Defendant, to create a risk of

                  serious physical harm to Plaintiff and others;

        c.        Failingto provide adequate signage or warnings related to the complained

                  area rug/rugs display;

        d.        Failing to maintain the premises owned by Defendant in a good and safe

                  condition;

        e.        Failing to exercise the degree of care required under the circumstances;




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          f.      Other such and further acts of negligence to be proved at the trial of thi s

                  cause.

                                  DAMAGES AND DEMAND

          12.     Plaintiff incorporates herein by reference the allegations of Paragraphs 1

   through 11, as if more fully set forth here in words and figures.

          13.     Plaintiff, Nancy SIeger, suffered serious and permanent injuries and

   substantial monetary damages as the proximate result of the negligence of the Defendant,

   as shown hereinabove. As such, Plaintiff sues and demands recovery of damages as

   follows:

          a.      Personal injury to Plaintiff, Nancy SIeger, including but not

                  limited to past, present, and future mental and physical pain and

                 . suffering; past, present, and future medical bills; past, present, and

                  future disability; past, present, and future loss of enjoyment of

                  ·life; past, present, and future lost wages; past, present, and future loss of

                  wage earning capacity .

          . WHEREEORE, Plaintiff prays that, after due proceedings had, there be judgment

--1.nherfavorand against the Defendant in an amount necessary to reasonably compensate

   her for the damages complained herein, for all costs of court, and for legal interest as

   provided by law.




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    Respectfully submitted,

                                BY:   NANCY SLEGER



                                BY:
                                      Reed S. Bennett (MS Bar 103233)
                                      Law Offices of Reed S. Bennett, PLLC
                                      2501 14th Street, Suite 211
                                      Gulfport, MS 39501
                                      (t) 228-865-1008
                                      (f) 228-865-1009




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                    COVER SHEET                                                                       (ou_rt Identification Docket II                                                                    Case Year
               Civil Case Filing Form                                                             IZI~I[]]                                                             1Cf#1
       (To be completed by Attorney/Party                                                              County #                            Judicial                           Court ID
               Prior to Filing of Pleading)                                                                                                DIstrict                       (CH,   a; CD)

Mississippi Supreme Court                              Form AOC/01


                                                                                                     Court of                                                                                       County                           Judicial District

Or gm 0 Suit P ace an
         o      Initial Filing                                                                    0               Foreign Judgment Enrolled                                                        0    Transfer from Other court                 o      Other
         o      Remanded                  0      Reopened                                         0               JoiningSuit/Action                                                               0    Appeal

Plaintiff· Pa         lies) Initially Bringing Suit Should Be Entered First· Enter Additional Plaintiffs on Separate Form
Individual                           r                                   j ~~                                                b.
                               last N a m e - FirstNafTii{                                                         Maiden Name, if applicable MI"" Jr/Sr11li/IV
       __ Check ( x ) if IndiVidual Plainitiff is acting in capacity as Executor(trix) or ACiministrator(trix) of an Estate, and enter style:
           Estateof -:-...,......,...~~~~_ _ _ _ _ _ _ _ _ _ _ _~_ _~~~_ _ _ _ _ _-:-_ _--:_ _ _ _ _ _ __
       _-_. Check (x) if Individual Planitiff is acting in capacity as Business Owner/Operator (d/b/a) or State Agency, and enter entit)
             fJ.!P1P..I2!!-f,er..cy _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Business
           ----------~~~--~~----~~~--~----~--~~~~~~~~----~------­
                   Enter legal name of bUSiness, corporation, partnership, agency - If Corporation, indicate the state where incorporated
       _._-._ Check (x) if.Business Planitiff is filing suit in the name of an entity other than the above, and enter below;
                 D/B/A
Address of Plaintiff        -------------------------------------------------------------------------------------­
                  -----~~--~---=~------~~------~~~~--~--~~~------------~
Attorney (Name & Address)                                 JiScl'MS Bar No. l <::> 32.
                                      ~~~~=-~~~~~~~~~~~~~~~~~~_T~~~
                                                                                                                                                                                                                         t                                       '37
       Signature of Individual Filing:

Defendant - Name of Defendant - Enter Additional Defendants on Separate Form

                            Last Name                                      First Name                         Maiden Name, if applicable   Jr!Sr/IlI/IV
    ... ~Check (x )jf Indiltidual Defendant is. acting in capacity as Executor(trix) or Administrator(trix) of an Estate, and enter style;
   _ ~~.~EJ~~e of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _--:_ _ _ _ _ _ _...,..._ _ _ _ _ _ _ _ __
      . '_'_' Check (x) if Individual Defendant is acting in capacity as Business Owner/Operator (d/b/a) or State Agency, and enter entity;
               D/B/A or Agency


                                Enter legal name of business, c rporatlon, partnership, gency -If Corporation, indicate the state where incorporated
       _._- Check (x ) if Business Defendant is acting in the name of an entity other than the above, and enter below:
               D/B/A
-----~---.---------------------------------------------------------------------------
Attornev (Name & Address) - If Known                                                                                                                                                                                                MS Bar No.

  _     Check (x)1f child support Is (Ontemplate~ as a!, issue in this suit,·                                                                                                         o     Alcohol/Drug Commitment IV"""-"YI
        "If checked, please submit completed Child Support Information Sheet with this Cover Sheet                                                                                    o     Other                                   o     Adverse Possession
Nature Olsulf(P18ceiin-ii j(,,-llionebox only)                                                                                                                                        .. Children/Minors· Non-Domestic;"            o     Ejectment
   Y~;RIr-......:.,'::-~:,.."                  ..-.~BUS-::..~tiii!iSl~,_=Q:l'::'..fllm=_._~~[d:::-,.'-1
                                                                                                     al;---'                                                                                Adoption - Contested                    o     Eminent Domain
 o Chil Custody isitation                                    0              Accounting (Business)                                                                                     o     Adoption - Uncontested                  o     Eviction
 o ChiidSupport                                              0               Busine~s_DissoluJion.                                                                                    o     Consent to Abortion                     o     Judicial Foreclosure
 o      C~ntempt- -                                          0              Debt Collection                                                                                           o                                             o     lien Assertion
 o .Divorce:Fault __ .                                       0              Employment                                                                                                                                              o     Partition
 o Divor~~=.trreco_ncilable Diff.                            0              Foreign Judgment -.                                                                                                                                     o     Tax Sale: Confirm/Cancel
 o Domestic Abuse                                            0              Garnishment                                                                                                                                             o     Title Boundary or Easement
 o Emanctpation-'                                            0              Replevin                                                                                                  o    Expungement                              o     Other
 o  ModifICation
 o Paternity                                                 0              Other
                                                        1......·b,;;,;;,·~:,;;·;";:·.;,.;-~-;;;;~:;;;.P[Q:;;;··:;::b;;at;::e';;;;;';;;>;;i._;;;.;;-;;;;'·;;::-';;'' ' ' '-1
                                                                                                                                                                                      o    Habeas Corpus                                             Torts
                                                        ..                                                                                                                            o    Post Conviction Relief/Prisoner           o    Bad Faith
 o Property Division                                         0               Accounting (Probate)                                                                                     o    Other                                     o
 o     Separate Maintenance                                  o               Birth Certificate Correction                                                                         I               ·,COntract                         o
                                                                                                                                                                                                                                          Fraud

 o     Term: of Parental RightS-Chancery                     0               Mental Health Commitment                                                                                 o    Breach of Contract                        o
                                                                                                                                                                                                                                          Intentional Tort
                                                                                                                                                                                                                                          loss of Consortium
 o                                                           0                                                                                                                        o                                              o
       UIFSA (eff 7/1/97; formerly URESA)
       Other
  '~.i~~
                                                             B               Conservatorship
                                                                             Guardianship
                                                                            Joint Conservatorship & Guardianship
                                                                                                                                                                                      o
                                                                                                                                                                                           Installment Contract
                                                                                                                                                                                           Insurance
                                                                                                                                                                                           Specific Performance
                                                                                                                                                                                                                                     o
                                                                                                                                                                                                                                     o
                                                                                                                                                                                                                                          Malpractice - legal
                                                                                                                                                                                                                                          Malpractice Medical

 o  Administrative Agency
 DCoUl1ty Court
                                                             E3             Heirship
                                                                            Intestate Estate                                                                                     I
                                                                                                                                                                                      E3   Other
                                                                                                                                                                                                 Statutes/RUles
                                                                                                                                                                                                                                     o
                                                                                                                                                                                                                                          MassTort
                                                                                                                                                                                                                                          Negligence - General



                                                                                                                                                                                                                                    ~
                                                                                                                                                                                                                                             gligenCe - Motor Vehicle
 o                                                          0                                                                                                                         o
 o
    Hardship Petition (Driver license)
    Justice Court                                           B               Minor's Settlement
                                                                            Muniment of Title                                                                                         o
                                                                                                                                                                                      o
                                                                                                                                                                                           Bond Validation
                                                                                                                                                                                           Civil Forfeiture
                                                                                                                                                                                                                                          Premises Liability
                                                                                                                                                                                                                                          Product liability
 o      MS Dept Employment Security   0                                     Name Change
                                                                            Jestate Estate                                                                                                 Declaratory Judgment
 o
 o
        Municipal Court
        Other
                                      0
                       Case: 24CI1:21-cv-00002
                                         Alcohol/D
                                                                            Will Contest
                                                                                                                                         o
                                                                                                                            Document #: 1-1
                                                                                                                  Commitment ~
                                                                                                                                                                                      o    Injunction or Restraining Order
                                                                                                                                                                                           Other Filed: 01/05/2021
                                                                                                                                                                                                                                    B
                                                                                                                                                                                                                                    o
                                                                                                                                                                                                                                          Subrogation
                                                                                                                                                                                                                                          Wrongful Death
                                                                                                                                                                                                                                    Page 1 of 1
                                                                                                                                                                                                                                          Other
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            IN THE CIRCUIT COURT OF HARRISON COUNTY, MISSISSIPPI
                           FIRST JUDICIAL DISTRICT

   NANCY SLEGER                                                                      PLAINTIFF

   v.                                           CAUSE NO.     8ZL(Dt- ZoZl-OOZ,
   AMERICAN FACTORY DIRECT, LLC                                                     DEFENDANT


                                            SUMMONS

           You 'ar'e hereby notified to serve this Summons and a copy of the Complaint in
   this action on:

            AMERICAN FACTORY DIRECT, LLC
            By and Through their Registered Agent
            C T Corporation System
            645 Lakeland East Drive, Suite 101
            Flowood, MS 39232

                                       NOTICE TO DEFENDANT

        -~_--THE~COMPLAINTATTACHED
                              TO THIS SUMMONS IS IMPORTANT
 ~AND=YOn:MUST_TAKE]MMEDIA TE ACTION TO PROTECT YOUR RIGHTS.


-- - =_ : ---:-~ Yuuare' required to
                                mail or hand-deliver a copy of a written response to the
   complaiilt to Reed S. Bennett, Law Offices of Reed S. Bennett, PLLC, the attorney for
   the Plaintiff, whose street address is 2501 14th StreetLS\Jite 211, Gulfport, MS 39501.
   Your response must be mailed or delivered within thirty (30) days from the date of
   delivery of this summons andcomplai nt or a judgment of default will be entered against
   you for the money or other things demanded in the complaint.

          You must also file the original of your response with the clerk of this court within
   a reasonable time aftelWard.

            Issued under my hand and the seal of said court, this   c:;,   day of




   (SEAL)


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              IN THE CIRCUIT COURT OF HARRISON COUNTY, MISSISSIPPI
                             FIRST JUDICIAL DISTRICT


NANCYSLEGER                                                                   PLAINTIFF


v.                                                           CAUSE NO. A2401-2021-002


AMERICAN FACTORY DIRECT, LLC                                                 DEFENDANT

                                            SUMMONS

        You are hereby notified to serve this Summons and a copy of the Complaint in
this action on:

            American Factory Direct, LLC
            through their registered agent,
            CT Corporation System
            645 Lakeland East Drive, Suite 101
            Flowood, MS 39232

     THE COMPLAINT ATTACHED TO THIS SUMMONS IS IMPORTANT AND YOU
MUST TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS.

         You are required to mail or hand-deliver a copy of a written response to the
complaint to Reed S. Bennett. Law Offices of Reed S. Bennett. PLLC, the attorney for the
Plaintiff, whose street address is 250114th Street. Suite 211. Gulfport. MS 39501. Your
response must be mailed or delivered within thirty (30) days from the date of delivery
of this summons and complaint or a judgment of default will be entered against you for
the money or other things demanded in the complaint.

       You must also file the original of your response with the clerk ofthis court
within a reasonable time afterward.

            Issued under my hand and the seal of said court, this ~ day of

-<-4.L¥-bf...L..-~,-----+·1--" 2021.
                                                 CIRCUIT COURT CLERK
                                                 HARRISON COUNTY, MS



(SEAL)

                                                                NIE LADNER, CIRCUIT ClER~
                                                                  HARRISON COUNTY
                                                                      PO BOX 998
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                                                       Filed: 04/07/2021 Page  1 of 1
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